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                             UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF ILLINOIS
                                   EASTERN DIVISION

UNITED STATES SECURITIES AND                      :   Case No. 19-cv-7528
EXCHANGE COMMISSION,                              :
                                                  :   [PROPOSED] AGREED
          Plaintiff,                              :   CONFIDENTIALITY ORDER
vs.                                               :
                                                  :
RISHI SHAH,                                       :
SHRADHA AGARWAL,                                  :
BRAD PURDY, and                                   :
ASHIK DESAI,                                      :

          Defendants.




                                    Agreed Confidentiality Order

          The parties to this Agreed Confidentiality Order have agreed to the terms of this Order;

accordingly, it is ORDERED:

          1.      Scope. All materials produced or adduced in the course of discovery, including

initial disclosures, responses to discovery requests, deposition testimony and exhibits, and

information derived directly therefrom (hereinafter collectively “documents”), shall be subject to

this Order concerning Confidential Information as defined below. This Order is subject to the

Local Rules of this District and the Federal Rules of Civil Procedure on matters of procedure and

calculation of time periods.

          2.      Confidential Information. As used in this Order, “Confidential Information”

means information designated as “CONFIDENTIAL-SUBJECT TO PROTECTIVE ORDER” by

the producing party or third-party that falls within one or more of the following categories: (a)

information prohibited from disclosure by statute; (b) information that reveals trade secrets; (c)

research, technical, commercial or financial information that the party has maintained as



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confidential; (d) medical information concerning any individual; (e) personal identity

information; (f) income tax returns (including attached schedules and forms), W-2 forms and

1099 forms; or (g) personnel or employment records of a person who is not a party to the case.

Information or documents that are available to the public may not be designated as Confidential

Information.

          3.   Designation.

               (a)     A party may designate a document as Confidential Information for

protection under this Order by placing or affixing the words “CONFIDENTIAL - SUBJECT TO

PROTECTIVE ORDER” on the document and on all copies in a manner that will not interfere

with the legibility of the document. As used in this Order, “copies” includes electronic images,

duplicates, extracts, summaries or descriptions that contain the Confidential Information. The

marking “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied prior to

or at the time of the documents are produced or disclosed. Applying the marking

“CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” to a document does not mean that

the document has any status or protection by statute or otherwise except to the extent and for the

purposes of this Order. Any copies that are made of any documents marked “CONFIDENTIAL -

SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that indices, electronic

databases or lists of documents that do not contain substantial portions or images of the text of

marked documents and do not otherwise disclose the substance of the Confidential Information

are not required to be marked.




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                 (b)    The designation of a document as Confidential Information is a

certification by an attorney or a party appearing pro se that the document contains Confidential

Information as defined in this order.1

          4.     Depositions.

          Deposition testimony is protected by this Order only if designated as “CONFIDENTIAL

– SUBJECT TO PROTECTIVE ORDER” on the record at the time the testimony is taken. Such

designation shall be specific as to the portions that contain Confidential Information. Deposition

testimony so designated shall be treated as Confidential Information protected by this Order until

fourteen days after delivery of the transcript by the court reporter to any party or the witness.

Within fourteen days after delivery of the transcript, a designating party may serve a Notice of

Designation to all parties of record identifying the specific portions of the transcript that are

designated Confidential Information, and thereafter those portions identified in the Notice of

Designation shall be protected under the terms of this Order. The failure to serve a timely Notice

of Designation waives any designation of deposition testimony as Confidential Information that

was made on the record of the deposition, unless otherwise ordered by the Court.

          5.     Protection of Confidential Material.

                 (a)    General Protections. Confidential Information shall not be used or

disclosed by the parties, counsel for the parties or any other persons identified in subparagraph




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  An attorney who reviews the documents and designates them as CONFIDENTIAL - SUBJECT
TO PROTECTIVE ORDER must be admitted to the Bar of at least one state but need not be
admitted to practice in the Northern District of Illinois unless the lawyer is appearing generally
in the case on behalf of a party. By designating documents confidential pursuant to this Order,
counsel submits to the jurisdiction and sanctions of this Court on the subject matter of the
designation.

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(b) for any purpose whatsoever other than in this litigation, or for use in the parallel criminal case

United States v. Shah, et al. 19-CR-00864, including any appeal thereof.

                (b)     Limited Third-Party Disclosures. The parties and counsel for the parties

shall not disclose or permit the disclosure of any Confidential Information to any third person or

entity except as set forth in subparagraphs (1)-(9). Subject to these requirements, the following

categories of persons may be allowed to review Confidential Information:

          (1)   Counsel. Counsel for the parties and employees of counsel who have

                responsibility for the action;

          (2)   Parties. Individual parties and employees of a party but only to the extent counsel

                determines in good faith that the employee’s assistance is reasonably necessary to

                the conduct of the litigation in which the information is disclosed;

          (3)   The Court and its personnel;

          (4)   Court Reporters and Recorders. Court reporters and recorders engaged for

                depositions;

          (5)   Contractors. Those persons specifically engaged for the limited purpose of

                making copies of documents or organizing or processing documents, including

                outside vendors hired to process electronically stored documents;

          (6)   Consultants and Experts. Consultants, investigators, or experts employed by the

                parties or counsel for the parties to assist in the preparation and trial of this action

                but only after such persons have completed the certification contained in

                Attachment A, Acknowledgment of Understanding and Agreement to Be Bound;

          (7)   Witnesses in connection with depositions. During -- or in preparation for -- their

                depositions, witnesses in this action to whom disclosure is reasonably necessary.



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                 Once the deposition is complete, witnesses shall not retain a copy of documents

                 containing Confidential Information, except witnesses may receive a copy of all

                 exhibits marked at their depositions in connection with review of the transcripts.

                 Pages of transcribed deposition testimony or exhibits to depositions that are

                 designated as Confidential Information pursuant to the process set out in this

                 Order must be separately bound by the court reporter and may not be disclosed to

                 anyone except as permitted under this Order.

          (8)    Author or recipient. The author or recipient of the document (not including a

                 person who received the document in the course of litigation);

          (9)    The prosecutors in United States v. Shah, et al., 19-CR-864; and

          (10) Others by Consent. Other persons only by written consent of the producing party or

                 upon order of the Court and on such conditions as may be agreed or ordered.

                 (c)    Control of Documents. Counsel for the parties shall make reasonable

efforts to prevent unauthorized or inadvertent disclosure of Confidential Information. Counsel

shall maintain the originals of the forms signed by persons acknowledging their obligations

under this Order for a period of three years after the termination of the case.

          6.     Inadvertent Failure to Designate. An inadvertent failure to designate a document

as Confidential Information does not, standing alone, waive the right to so designate the

document; provided, however, that a failure to serve a timely Notice of Designation of deposition

testimony as required by this Order, even if inadvertent, waives any protection for deposition

testimony. If a party designates a document as Confidential Information after it was initially

produced, the receiving party, on notification of the designation, must make a reasonable effort

to assure that the document is treated in accordance with the provisions of this Order. No party



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shall be found to have violated this Order for failing to maintain the confidentiality of material

during a time when that material has not been designated Confidential Information, even where

the failure to so designate was inadvertent and where the material is subsequently designated

Confidential Information.

          7.   Filing of Confidential Information. This Order does not, by itself, authorize the

filing of any document under seal. Any party wishing to file a document designated as

Confidential Information in connection with a motion, brief or other submission to the Court

must comply with LR 26.2.

          8.   No Greater Protection of Specific Documents. Except on privilege grounds not

addressed by this Order, no party may withhold information from discovery on the ground that it

requires protection greater than that afforded by this Order unless the party moves for an order

providing such special protection.

          9.   Challenges by a Party to Designation as Confidential Information. The

designation of any material or document as Confidential Information is subject to challenge by

any party. The following procedure shall apply to any such challenge.

               (a)     Meet and Confer. A party challenging the designation of Confidential

Information must do so in good faith and must begin the process by conferring directly with

counsel for the designating party. In conferring, the challenging party must explain the basis for

its belief that the confidentiality designation was not proper and must give the designating party

an opportunity to review the designated material, to reconsider the designation, and, if no change

in designation is offered, to explain the basis for the designation. The designating party must

respond to the challenge within five (5) business days.




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                (b) Judicial Intervention. A party that elects to challenge a confidentiality

designation may file and serve a motion that identifies the challenged material and sets forth in

detail the basis for the challenge. Each such motion must be accompanied by a competent

declaration that affirms that the movant has complied with the meet and confer requirements of

this procedure. The burden of persuasion in any such challenge proceeding shall be on the

designating party. Until the Court rules on the challenge, all parties shall continue to treat the

materials as Confidential Information under the terms of this Order.

          10.   Action by the Court. Applications to the Court for an order relating to materials or

documents designated Confidential Information shall be by motion. Nothing in this Order or any

action or agreement of a party under this Order limits the Court’s power to make orders

concerning the disclosure of documents produced in discovery or at trial.

          11.   Use of Confidential Documents or Information at Trial. Nothing in this Order

shall be construed to affect the use of any document, material, or information at any trial or

hearing. A party that intends to present or that anticipates that another party may present

Confidential information at a hearing or trial shall bring that issue to the Court’s and parties’

attention by motion or in a pretrial memorandum without disclosing the Confidential

Information. The Court may thereafter make such orders as are necessary to govern the use of

such documents or information at trial.

          12.   Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

                (a)    If a receiving party is served with a subpoena or an order issued in other

litigation that would compel disclosure of any material or document designated in this action as

Confidential Information, the receiving party must so notify the designating party, in writing,




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immediately and in no event more than three court days after receiving the subpoena or order.

Such notification must include a copy of the subpoena or court order.

                (b)    The receiving party also must immediately inform in writing the party

who caused the subpoena or order to issue in the other litigation that some or all of the material

covered by the subpoena or order is the subject of this Order. In addition, the receiving party

must deliver a copy of this Order promptly to the party in the other action that caused the

subpoena to issue.

                (c)    The purpose of imposing these duties is to alert the interested persons to

the existence of this Order and to afford the designating party in this case an opportunity to try to

protect its Confidential Information in the court from which the subpoena or order issued. The

designating party shall bear the burden and the expense of seeking protection in that court of its

Confidential Information, and nothing in these provisions should be construed as authorizing or

encouraging a receiving party in this action to disobey a lawful directive from another court. The

obligations set forth in this paragraph remain in effect while the party has in its possession,

custody or control Confidential Information by the other party to this case.

          13.   Challenges by Members of the Public to Sealing Orders. A party or interested

member of the public has a right to challenge the sealing of particular documents that have been

filed under seal, and the party asserting confidentiality will have the burden of demonstrating the

propriety of filing under seal.

          14.   Obligations on Conclusion of Litigation.

                (a)    Order Continues in Force. Unless otherwise agreed or ordered, this Order

shall remain in force after dismissal or entry of final judgment not subject to further appeal.




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               (b)     Obligations at Conclusion of Litigation. Within sixty-three days after

dismissal or entry of final judgment not subject to further appeal, all Confidential Information

and documents marked “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” under this

Order, including copies as defined in ¶ 3(a), shall be returned to the producing party unless: (1)

the document has been offered into evidence or filed without restriction as to disclosure; (2) the

parties agree to destruction to the extent practicable in lieu of return;2 or (3) as to documents

bearing the notations, summations, or other mental impressions of the receiving party, that party

elects to destroy the documents and certifies to the producing party that it has done so.

               (c)     Retention of Work Product and one set of Filed Documents.

Notwithstanding the above requirements to return or destroy documents, counsel may retain (1)

attorney work product, including an index that refers or relates to designated Confidential

Information so long as that work product does not duplicate verbatim substantial portions of

Confidential Information, and (2) one complete set of all documents filed with the Court

including those filed under seal. Any retained Confidential Information shall continue to be

protected under this Order. An attorney may use his or her work product in subsequent litigation,

provided that its use does not disclose or use Confidential Information.

               (d)     Deletion of Documents filed under Seal from Electronic Case Filing

(ECF) System. Filings under seal shall be deleted from the ECF system only upon order of the

Court.




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  The parties agree that the receiving party shall destroy documents containing Confidential
Information and certify the fact of destruction, and that the receiving party shall not be required
to locate, isolate and return e-mails (including attachments to e-mails) that may include
Confidential Information, or Confidential Information contained in deposition transcripts or
drafts or final expert reports.

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          15.   Order Subject to Modification. This Order shall be subject to modification by the

Court on its own initiative or on motion of a party or any other person with standing concerning

the subject matter.

          16.   No Prior Judicial Determination. This Order is entered based on the

representations and agreements of the parties and for the purpose of facilitating discovery.

Nothing herein shall be construed or presented as a judicial determination that any document or

material designated Confidential Information by counsel or the parties is entitled to protection

under Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the

Court may rule on a specific document or issue.

          17.   Persons Bound. This Order shall take effect when entered and shall be binding

upon all counsel of record and their law firms, the parties, and persons made subject to this Order

by its terms.

          So Ordered.



Dated:                                                  ______________________
                                                        Hon. Thomas M. Durkin
                                                        U.S. District Judge




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 WE SO MOVE and agree to abide by the         WE SO MOVE and agree to abide by the
 terms of this Order                          terms of this Order

 /s/ Timothy S. Leiman                        /s/ Alexander Lowder
 Timothy S. Leiman (leimant@sec.gov)          A. Alexander Lowder
 Ariella O. Guardi (guardia@sec.gov)          Stephen G. Larson
 Tracy W. Lo (lot@sec.gov)                    Koren L. Bell
 Jedediah B. Forkner (forknerj@sec.gov)       Larson LLP
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 (312) 353-7398 (FAX)                         (213) 436-4888
                                              (alowder@larsonllp.com)
                                              (slarson@larsonllp.com)


 Counsel for:                                 Counsel for:
 Plaintiff U.S. Securities and Exchange       Defendant Shradha Agarwal
 Commission

 Dated: September 24, 2021                    Dated: September 24, 2021

 WE SO MOVE and agree to abide by the         WE SO MOVE and agree to abide by the
 terms of this Order                          terms of this Order

 /s/ Theodore T. Poulos                       /s/ Vicki Chou
 Theodore T. Poulos                           John C. Hueston
 Emily Cohen Rossi Vermylen                   Vicki Chou
 Terence H. Campbell                          HUESTON HENNIGAN LLP
 Cotsirilos, Tighe, Streicker, Poulos &       523 W 6th St Ste 400
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 33 N. Dearborn, Suite 600                    (213) 788-4340
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 (312) 263-0345 main office
 (tpoulos@cotsiriloslaw.com)

 Counsel for:                                 Counsel for:
 Defendant Brad Purdy                         Defendant Rishi Shah

 Dated: September 24, 2021                    Dated: September 24, 2021




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          ATTACHMENT A

UNITED STATES SECURITIES AND                      :   Case No. 19-cv-7528
EXCHANGE COMMISSION,                              :
                                                  :
          Plaintiff,                              :
vs.                                               :
                                                  :
ASHIK DESAI,                                      :
                                                  :
          Defendant.                              :
                                                  :


                                      ACKNOWLEDGMENT

                                                AND

                                  AGREEMENT TO BE BOUND

          The undersigned hereby acknowledges that he/she has read the Confidentiality Order

dated __________________ in the above-captioned action and attached hereto, understands the

terms thereof, and agrees to be bound by its terms. The undersigned submits to the jurisdiction of

the United States District Court for the Northern District of Illinois in matters relating to the

Confidentiality Order and understands that the terms of the Confidentiality Order obligate

him/her to use materials designated as Confidential Information in accordance with the Order

solely for the purposes of the above-captioned action, and not to disclose any such Confidential

Information to any other person, firm or concern.




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          The undersigned acknowledges that violation of the Confidentiality Order may result in

penalties for contempt of court.

Name:            _________________________________________

Job Title:       _________________________________________

Employer:        _________________________________________

Business Address:       ___________________________________

                        ___________________________________

                        ___________________________________


Date: ________________                                ______________________________
                                                      Signature




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